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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

UNIVERSITY OF GEORGIA
ATHLETIC ASSOCIATION, INC.,

        Plaintiff,
                                                  Case No.: 1:25-cv-2255-TWT
v.

ABDUL REHMAN ENTERPRISES, et al.,

        Defendants.

                       NOTICE OF VOLUNTARY DISMISSAL
       Plaintiff University of Georgia Athletic Association, Inc., by and through

undersigned counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby

voluntarily dismisses this action against the following Defendants without prejudice,

with each party to bear its own attorneys’ fees and costs:

     1. Hondew;

     2. Pengpeng Li; and

     3. PINGJINGA.

Dated: June 7, 2025.


                                Respectfully submitted,
                                THE SLADKUS LAW GROUP

                                s/ Carrie A. Hanlon
                                Carrie A. Hanlon
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